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 6

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   United States of America
 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                            CASE NO. 1:15–CR-00286 AWI-BAM

13                                 Plaintiff,             STIPULATION AND ORDER

14                           v.

15   ZAID ELODAT,

16                                 Defendant.

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18
                                                  STIPULATION
19
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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         through his counsel of record, hereby stipulate as follows:
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                    1.      By previous order, this matter was set for a bail appeal before this Court on
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         November 9, 2015, at 10:00 a.m.
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                    2.      By this stipulation, the parties now move to stay the bail appeal until further
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         notice of the parties
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                    3.      The parties also agree to set this matter for his initial appearance on Monday,
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         November 9, 2015, at 1:30 p.m., before U.S. Magistrate Judge Stanley A. Boone.
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              Case 1:15-cr-00286-ADA-BAM Document 42 Filed 10/29/15 Page 2 of 2


 1                  IT IS SO STIPULATED.

 2

 3 Dated: October 28, 2015                        BENJAMIN B. WAGNER
                                                  United States Attorney
 4
                                                  /s/ KAREN A. ESCOBAR
 5                                                KAREN A. ESCOBAR
                                                  Assistant United States Attorney
 6
     Dated: October 28, 2015
 7                                                /s/ EDWARD M. ROBINSON
                                                  EDWARD M. ROBINSON
 8                                                Counsel for Defendant

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10
                                             ORDER
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12
     IT IS SO ORDERED.
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     Dated:     October 29, 2015                        /s/ Sheila K. Oberto
14                                             UNITED STATES MAGISTRATE JUDGE
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